                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION

UNITED STATES OF AMERICA, ET AL.,     )
                                      )
    Plaintiff,                        )
                                      )                      **SEALED CASE***
v.                                    )                      3:17-cv-01040
                                      )                      Judge Trauger
COMMUNITY HEALTH SYSTEM, INC.,ET AL., )
                                      )
    Defendants.                       )
                                      )

                                            ORDER

       The relator has filed a Notice of Dismissal, requesting to dismiss this case without

prejudice (Docket No. 27), to which the United States (Docket No. 28) and the State of

Washington (Docket No. 29) have consented. It is therefore ORDERED that this case is

DISMISSED without prejudice.

       This Order constitutes the judgment in this case.

       It is so ORDERED.

       Enter this 3rd day of April 2018.


                                                     ________________________________
                                                     ALETA A. TRAUGER
                                                     U.S. District Judge




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